
After a rule made absolute against the defendant, an Information was filed against him in the Superior Court of Taw for Wythe county. The Information is as follows :
‘‘Virginia, Wythe county, to wit: Beit remembered, that H. Chapman who prosecutes as Attorney for the Commonwealth in the Superior Court of Taw for Wythe county, comes here into the said Court in his proper person, this *llth day of May, 1814, and for the Commonwealth gives the Court here to understand and be informed, that John Feely, (Inn-keeper,) late of the county of Wythe aforesaid, on the 15th dáy of October, 1812, at the county aforesaid, and within the jurisdiction of the Superior Court of Taw, appointed by law to be holden in, and for, the county of Wythe aforesaid, did offer a contempt to the Superior Court of Taw, held in and for Wythe county, in this, that he the said John Feely did use means to prevent, and did then and there prevent, one Samuel Wright from attending as a witness to give evidence to prove the execution of a deed of trust, which deed of trust was executed by the said John Feely to John Draper, after he, the said Samuel Wright, had been duly summoned to attend said Court as a witness, to prove said deed of trust on the fourth day of the October Term 1812, by virtue of a summons issued by the Clerk of said Court, who was duly authorized to issue said summons, which act of the said John Feely is contrary to the laws and usages of this Commonwealth, and against the peace and dignity of the Commonwealth, oi c.”
On the issue joined on this Information, the jury found the defendant guilty, arid assessed his fine to twenty dollars.
The defendant moved the Court to arrest the judgment for the following reasons : “1. Because the offence is not specified with sufficient certainty. 2. Because there is no criminal offence stated, the subpoena stated in the information, not being legal process.” The questions arising on this motion were adjourned to the General court.
The decision of this Court was as follows : “Ordered, That it be certified, &amp;c. that the offence is stated in the Information with sufficient certainty; that it is a criminal offence for which an Information will lie ; and that there exists on the face of the record no cause for arresting the judgment.”
